Case 1:09-cr-20536-TLL-PTM ECF No. 663, PageID.2830 Filed 10/26/12 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number 09-20536-6
v.                                                          Honorable Thomas L. Ludington

TERRY MARSHALL,

                  Defendant.
______________________________________ /

            ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

       In November 2009, a grand jury in the Eastern District of Michigan returned a forty-nine-

count indictment against fifteen defendants accused of conspiring to distribute cocaine and

cocaine base near Bay City, Michigan, in violation of 21 U.S.C. §§ 841(a)(1) and 846. When the

grand jury issued a second superseding indictment on August 5, 2010, the alleged conspiracy

grew to include twenty-five defendants and fifty-eight criminal charges. ECF No. 182.

       Terry Marshall was one of these twenty-five defendants. On April 16, 2012, Defendant

plead guilty to one count of conspiracy to distribute twenty-seven grams of cocaine base.

Pursuant to the Rule 11 plea agreement she executed on that date, Defendant agreed with the

government that her sentencing guideline range was 140 to 175 months. She further agreed that

under the sentencing guidelines, her total offense level was 32 and her criminal history was

category five. The government, in return, agreed to withdraw its notice of prior convictions filed

pursuant to 18 U.S.C. § 851, which would have imposed a statutory mandatory minimum of life

in prison for the offense charged in the information.
Case 1:09-cr-20536-TLL-PTM ECF No. 663, PageID.2831 Filed 10/26/12 Page 2 of 3




       On August 1, 2012, Defendant was sentenced to 140 months imprisonment. Defendant

now moves for a reduction of her sentence based on the Fair Sentencing Act, 124 Stat. 2372, and

the Supreme Court’s holding in Dorsey v. United States, 132 S. Ct. 2321 (2012). ECF. No. 661.

       The United States Code imposes mandatory minimum prison sentences upon those

convicted of federal drug crimes. “Until 2010,” the Supreme Court observes, “the relevant

statute imposed upon an offender who dealt in powder cocaine the same sentence it imposed

upon an offender who dealt in one one-hundredth that amount of crack cocaine.” Dorsey, 132 S.

Ct. at 2326. The Fair Sentencing Act — which took effect on August 3, 2010 — dramatically

changed this, as the Supreme Court explains:

       The Act increased the drug amounts triggering mandatory minimums for crack
       trafficking offenses from 5 grams to 28 grams in respect to the 5–year minimum
       and from 50 grams to 280 grams in respect to the 10–year minimum (while
       leaving powder at 500 grams and 5,000 grams respectively). The change had the
       effect of lowering the 100–to–1 crack-to-powder ratio to 18–to–1. (The Act also
       eliminated the 5–year mandatory minimum for simple possession of crack.)

Dorsey, 132 S. Ct. at 2329 (citations omitted) (citing 124 Stat. 2372). The United States

Sentencing Commission promulgated conforming guideline amendments that took effect on

November 1, 2011. See id. (citing 76 Fed.Reg. 24960 (2011)).

       Here, as noted, Defendant was sentenced on August 1, 2012. Her sentence did not

impose a mandatory sentence. Her guideline range was calculated under the 2011 Guidelines

Manual, which incorporates the guideline amendments promulgated to conform with the Fair

Sentencing Act. In sum, Defendant was sentenced pursuant to the Fair Sentencing Act. Her

motion for a reductions of her sentence based on the Fair Sentencing Act therefore requests relief

already afforded her.



                                               -2-
Case 1:09-cr-20536-TLL-PTM ECF No. 663, PageID.2832 Filed 10/26/12 Page 3 of 3




      Accordingly, it is ORDERED that Defendant’s motion for a reduction of her sentence

based on the Fair Sentencing Act to (ECF No. 661) is DENIED.


                                                    s/Thomas L. Ludington
                                                    THOMAS L. LUDINGTON
                                                    United States District Judge
Dated: October 26, 2012




                                             PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney of record herein by electronic means and upon Terry
                      Marshall #42440-039 at USP Hazelton, P.O. Box 2000, Bruceton Mills,
                      WV 26525 by first class U.S. mail on October 26, 2012.

                                                       s/Tracy A. Jacobs
                                                       TRACY A. JACOBS




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